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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION
SIEMENS PRODUCT LIFECYCLE
MANAGEMENT SOFTWARE INC.,
                                                  Case No.: 4:18-cv-02344
                      Plaintiff,

v.                                                JURY TRIAL DEMANDED

DOES 1- 107,

                      Defendants.



     ORDER GRANTING MOTION TO EXTEND TIME FOR PLAINTIFF TO SERVE DEFENDANTS


         Before the Court is Plaintiff’s Motion to Extend Time for Plaintiff to Serve Defendants

 (the “Motion”). Good cause has been shown by Plaintiff for the extension of the deadline.

 Therefore, Plaintiff’s Motion should be, and is hereby, GRANTED. Accordingly, the deadline

 for Plaintiff to serve Defendants pursuant to Fed. R. Civ. P. 4(m) is extended to December 10,

 2018.

         Signed the ___ day of _______________________, 2018.

                                                   ____________________________________
                                                   UNITED STATES DISTRICT JUDGE
